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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                     ) Chapter 11
                                                           )
WARDMAN HOTEL OWNER, L.L.C., 1                             ) Case No.: 21-10023 (JTD)
                                                           )
                             Debtor.                       ) Re: Docket Nos. 311, 312, and 324
                                                           )

                     NOTICE OF FILING OF PLAN SUPPLEMENT
               WITH RESPECT TO THE DEBTOR’S PLAN OF LIQUIDATION
               PURSUANT TO CHAPTER 11 OF THE BANKRUPTCY CODE


         PLEASE TAKE NOTICE OF THE FOLLOWING

         1.       On September 1, 2021, the Court entered the Order (I) Granting Interim Approval

the Disclosure Statement; (II) Scheduling a Plan Confirmation Hearing and Approving

Deadlines Related Thereto; (III) Approving Solicitation Packages and Procedures; (IV)

Approving the Form of Ballot; and (V) Granting Related Relief [Docket No. 324] (the “Order”).

         2.       On August 18, 2021, the Debtor filed its Debtor’s Plan of Liquidation Pursuant to

Chapter 11 of the Bankruptcy Code [Docket No. 311] (the “Plan”) and the Disclosure Statement

with Respect to Debtor’s Plan of Liquidation Pursuant to Chapter 11 of the Bankruptcy Code

[Docket No. 312] (the “Disclosure Statement”).

         3.       In accordance with the Order and the terms of the Plan, this Plan Supplement

contains Plan related documents to be filed with the Court, which may consist of one or multiple

filings, including the Liquidating Trust Agreement, and the proposed compensation of the

Liquidating Trustee. Attached hereto are the following:




1
    The last four digits of the Debtor’s U.S. tax identification number are 9717. The Debtor’s mailing address is 5996
    Mitchell Road, #16, Atlanta, GA 30328.



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   Exhibit       Description
      A          Form of Liquidating Trust Agreement
      B          Identification of Compensation of Liquidating Trustee

          4.      The documents contained in the Plan Supplement are integral to, part of, and

incorporated by reference into the Plan. However, these documents have not yet been approved

by the Bankruptcy Court. If the Plan is approved, the documents contained in the Plan

Supplement will be approved by the Bankruptcy Court pursuant to the order confirming the Plan.

          5.      The Debtor reserves the right, subject to the terms and conditions set forth in the

Plan, to alter, amend, modify, or supplement any document in the Plan Supplement; provided

that, if any document in the Plan Supplement is altered, amended, modified, or supplemented in

any material respect prior to the hearing to consider confirmation of the Plan, the Debtor will file

a blackline of such document with the Bankruptcy Court.

          6.      The Plan, the Disclosure Statement, the Plan Supplement, as well as further

information regarding these chapter 11 cases are available for inspection on the Bankruptcy

Court’s website at www.deb.uscourts.gov, or free of charge on the Debtor’s restructuring website

at https://cases.stretto.com/wardmanhotel, or by telephone at 855-462-7622 or email to

teamwardmanhotel@stretto.com.



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 Dated: September 2, 2021                  PACHULSKI STANG ZIEHL & JONES LLP


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